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Eat Here Brands, LLC, et al. - Service List to e-mail Recipients
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ALABAMA DEPARTMENT OF REVENUE                   AMERICAN EXPRESS                        AMFIRST INSURANCE CO LT
2020 VALLEYDALE RD, STE 2108                    P.O. BOX 650448                         ATTN: RICHARD EATON
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ANDREW M SAMPSON                                BENNETT THRASHER                        CITY OF ALANTA
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OCEAN SPRINGS, MS 39564                         3300 RIVERWOOD PKWY, STE 700            ATLANTA, GA 30303
                                                ATLANTA, GA 30339




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                                                                                        CHICAGO, IL 60674




ESTATE OF SIDNEY ALLEN                          FLORIDA CONCEPTS HOLDINGS, LLC          FORESTWOOD FARM, INC.
200 BRAE BURN DR                                36750 US HWY 19 N                       P.O. BOX 310728
JACKSON, MS 39211                               PALM HARBOR, FL 34684                   BIRMINGHAM, AL 35231-0728




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GERALD J. DIAZ, JR.                             HENRY F SKELTON, II                     INLAND JACKSON - 33017
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NASHVILLE, TN 37215




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                                                                                        DALLAS, TX 75225




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                                                3343 PEACHTREE RD, NE                   ATLANTA, GA 30334
                                                ATLANTA, GA 30326



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PAUL BROOKS EASON                               PHOENIX WHOLESALE FOOD SERVICE       PIAZZA PRODUCE
103 OAKHURST TRAIL                              PO BOX 707                           5941 W 82ND ST.
RIDGELAND, MS 39157                             FOREST PARK, GA 30298                INDIANAPOLIS, IN 46268




RICHARD A WARREN, IRA                           ROBERTSON PRODUCE OF MISS            ROBIN C. SELBY RLT
103 PIMLICO DR                                  101 HORSESHOE LAKE ROAD              1360 PLAYMOOR DR
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ROGER G. OR JAN E. FOSTER                       SAR & ASSOCIATES INC                 STACK & MOYER FAMILY HLDG LLC
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BRANDON, MS 39042                               73 WOODSTOCK RD                      1308 POST DR
                                                ROSWELL, GA 30075-3560               BOZEMAN, MT 59715




SUNRISE FRESH PRODUCE                           SUNRISE FRESH PRODUCE                SYSCO ATLANTA - 684530
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JACKSON, MS 39209                               2208 W 21ST STREET                   1000 SYSCO DR
                                                JACKSONVILLE, FL 32209               CALERA, AL 35040




SYSCO BIRMINGHAM - 621110                       SYSCO JACKSON LLC                    SYSCO KNOXVILLE LLC
ATTN: DESIREE GEEGAN                            ATTN: DESIREE GEEGAN                 900 TENNESSEE AVE
1000 SYSCO DR                                   P.O. BOX 2900                        KNOXVILLE, TN 37921-2630
CALERA, AL 35040                                JACKSON, MS 39207-2900




SYSCO MEMPHIS                                   SYSCO OVERTON-741751                 THE U.S. ATTORNEY FOR THE NORTHERN DISTRIC
4359 BF GOODRICH BLVD                           4359 B.F GOODRICH BLVD               ATTN: CIVIL PROCESS CLERK
MEMPHIS, TN 38118                               MEMPHIS, TN 38118-7306               NORTHERN DISTRICT OF GEORGIA
                                                                                     75 TED TURNER DR, SW STE 600
                                                                                     ATLANTA, GA 30303-3309


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